   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 1 of 9




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
        Plaintiffs,                 )
                                    )        CIVIL ACTION NO.
        v.                          )          2:14cv601-MHT
                                    )               (WO)
JEFFERSON S. DUNN, in his           )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
        Defendants.                 )

               PHASE 2A OMNIBUS REMEDIAL OPINION
                      PART III SUPPLEMENT

    The court inadvertently omitted two subsections--one

discussing the degree to which the EMT shall consider

unexpected circumstances in monitoring the defendants’

compliance with the court’s omnibus remedial order, and

the other discussing the defendants’ promulgation of

policies--from the third part of its Phase 2A Omnibus

Remedial Opinion.       These two subsections should have come

after    the   subsection      entitled    “M.    Training”      in      the

section      entitled   “II.    REMEDIAL     PROVISIONS       AND     PLRA
   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 2 of 9




FINDINGS.”       These    two   subsections       should    have    been

subsections “N.” and “O.” These omitted subsections now

follow:



                  N. Unforeseen Circumstances

       Informed by the COVID-19 pandemic, the parties each

propose provisions as to how, if at all, the remedial

order and monitoring should be modified to accommodate

unforeseen circumstances.          In determining how unforeseen

circumstances will affect the monitoring and measurement

of compliance with the remedial order, the court need not

make PLRA findings.          The remedial order satisfies the

PLRA’s requirements, and this provision to accommodate

unforeseen circumstances imposes no remedial obligations

on the defendants.

       The   defendants     propose      to     define     “unforeseen

circumstances” to mean “a situation in which an event or

series of events (such as a natural disaster, fire,

medical epidemic, pandemic, or outbreak, and lockdown)

make    performance    under    this    Phase    2A   Remedial     Order


                                   2
   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 3 of 9




inadvisable,       impracticable,          illegal,        impossible,

detrimental to the health and/or safety of inmates and/or

staff, or detrimental to the public interest.”                    Defs.’

Proposed Phase 2A Remedial Order (Doc. 3215) at § 1.38.

The plaintiffs agreed that this definition is reasonable,

provided that the EMT retains the discretion to monitor

how the definition is applied.             See July 7, 2021, R.D.

Trial Tr. at 134-35.         The court adopts the defendants’

definition of “unforeseen circumstances.”

    As to how unforeseen circumstances will affect the

remedial order, the plaintiffs propose:

    “Remedial orders will not be modified to anticipate
    unforeseen   circumstances,    such   as   COVID-19.
    However, the EMT can evaluate reasons for not
    complying with this remedial order as well as ...
    any attempt to mitigate noncompliance in determining
    noncompliance.”

Pls.’ Updated Proposed Omnibus Remedial Order (Doc. 3342)

at § 14.1.

    The defendants propose separate provisions regarding

COVID-19    and   other     unforeseen      circumstances.          With

respect to COVID-19 specifically, they propose:



                                   3
   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 4 of 9




    “The Court anticipates COVID-19 and potentially
    other unforeseen circumstances affecting performance
    of a variety of aspects of this Phase 2A Remedial
    Order as it affected performance of a variety of
    aspects of the Remedial Orders. ... Consistent with
    the process identified in Section 13.2 below, during
    the development of audit tools related to this Phase
    2A   Remedial   Order,   the   Compliance    Team,   in
    collaboration   with   OHS   and    ADOC’s   Resumption
    Committee, will evaluate the remedial measures in
    this Phase 2A Remedial Order affected by COVID-19,
    the propriety of waiving or adjusting performance of
    such   remedial   measures,    and    the   anticipated
    timeframe   for   such   waiver    or   adjustment   of
    performance. For example, the Compliance Team may
    evaluate the impact of COVID-19 on mental-health
    group activities, out-of-cell time, and other
    mental-health services (including any activities and
    services continued by this Phase 2A Remedial Order
    that    the   State    previously      identified    as
    ‘unworkable’ ...). Along with the audit tools ...
    the Compliance Team will submit an initial written
    report to the Court consistent with Section 13.2
    below.”

Defs.’ Proposed Phase 2A Remedial Order (Doc. 3215) at

§ 13.1.    And with respect to unforeseen circumstances

generally, they propose:

    “To ensure the durability of this Phase 2A Remedial
    Order, the Court authorizes the Compliance Team to
    temporarily waive or adjust performance of one (1)
    or more remedial measures provided in this Phase 2A
    Remedial Order.      Before waiving or adjusting
    performance of any remedial measure in this Phase 2A
    Remedial    Order,   the    Compliance    Team,    in
    collaboration with OHS and any other necessary person
    or entity such as the Alabama Department of Public

                                   4
      Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 5 of 9




       Health, must evaluate the unforeseen circumstance
       and the effect on performance under this Phase 2A
       Remedial Order. The Compliance Team will submit a
       written report to the Court identifying the
       unforeseen circumstance, the remedial measures
       affected by the unforeseen circumstance, the reasons
       for the decision to waive or adjust performance of
       such   remedial   measures,  and    the   anticipated
       timeframe   for  such   waiver   or   adjustment   of
       performance.”

Id. at § 13.2.

       The parties’ proposals are similar in that both would

have     the    EMT   take      circumstances     like    COVID-19     into

account when measuring compliance.               The court agrees with

this approach.        However, the court will not prescribe the

manner in which the monitoring team must do so.                    Rather,

the court will order that, in monitoring the defendants’

compliance       with     the    remedial     order,     the   EMT    shall

consider unforeseen circumstances, their effects on the

defendants’ ability to comply with the remedial order,

and the defendants’ efforts to mitigate the effects of

those circumstances.             This approach is consistent with

the     recommendation          of   the   defendants’      expert,         Dr.

Metzner.        See June 30, 2021, R.D. Trial Tr. at 195-97

(recommending         that   the     remedial    order    should     remain

                                       5
   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 6 of 9




unchanged and that the EMT should determine whether there

is a “valid reason” for noncompliance and whether the

defendants have conducted “reasonable mitigation”). This

will    afford   the   EMT    the    discretion       to    evaluate     the

defendants’ performance in the context of unforeseen

circumstances, without moving the goalposts fixed by the

remedial order.

       To the extent the defendants propose that the EMT

should have the authority to waive performance of the

court’s orders, the court disagrees.                Elsewhere in these

proceedings,     the   defendants        argued     that    it   would    be

unlawful for the court to grant the EMT the authority to

modify the court’s orders, and the court agrees that

giving    that   level       of   power      to    the     EMT   would    be

inappropriate.

       Moreover, COVID-19 and similar conditions do not

change what constitutes minimally adequate mental-health

care.    It may be the case that a failure to provide such

care     that    would       be     deemed        noncompliance      under

non-pandemic conditions should not be so while a prison


                                     6
   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 7 of 9




system    is    adjusting       to       a   pandemic.        But        the

constitutional floor did not shift when the pandemic

struck.

                             O. Policies

    The plaintiffs contend that, if the court’s omnibus

remedial order is to have any effect, ADOC staff and

inmates must know its contents--the staff so that they

can follow its dictates, and the inmates so that they can

hold the defendants to account if they fail to comply.

To that end, they propose provisions requiring ADOC to

(1) publish a single, comprehensive set of policies and

procedures related to ADOC’s provision of mental-health

services to its inmate population, see Pls.’ Updated

Proposed Omnibus Remedial Order (Doc. 3342) at § 16.1;

(2) update its Inmate Handbook to summarize the court’s

omnibus remedial order and make a complete copy of the

court’s order available for review in the law library of

each major facility, see id. at § 16.2; and (3) require

its mental-health vendors to comply with its policies and

procedures, see id. at § 16.3.


                                     7
   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 8 of 9




    The defendants dispute the necessity of this relief,

pointing to the fact that ADOC has previously updated its

policies to reflect the terms of the courts’ orders as

evidence    of   its   “readiness      to    develop     and    implement

appropriate      policies     related        to   the    provision       of

mental-health care without a court order requiring it to

do so.”    Defs.’ Post-Trial Br. (Doc. 3367) at 140.                     In

the alternative, they offer a provision requiring ADOC

to update its policies and procedures to reflect the

terms of the court’s omnibus remedial order.                   See Defs.’

Proposed Phase 2A Remedial Order (Doc. 3215) at § 16.

    While the court agrees with the plaintiffs that ADOC

would be prudent to publish a single, comprehensive set

of policies and procedures related to its provision of

mental-health services, and to summarize at least certain

provisions of the court’s omnibus remedial order in its

Inmate    Handbook,    and   while     the    court     would    strongly

encourage ADOC to do such, it declines to enmesh itself

in the process of ongoing and detailed review of the

adequacy of ADOC’s published policies and handbooks.


                                   8
   Case 2:14-cv-00601-MHT-JTA Document 3465 Filed 12/28/21 Page 9 of 9




Rather than order the plaintiffs’ requested relief, it

simply notes that, if the EMT determines that ADOC is

failing    to     inform     inmates,        its    staff,     or        its

mental-health     vendor’s     staff    of    the   contents     of      the

court’s omnibus remedial order, and that that failure

impedes implementation of the order, it should work with

ADOC to resolve the problem, and bring it to the court’s

attention if necessary.

    DONE, this the 28th day of December, 2021.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   9
